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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,

            Plaintiff,                            Case No. 23-cr-20101
                                                  Hon. Matthew F. Leitman
v.

DAWONE COOK,

          Defendant.
__________________________________________________________________/

              ORDER MODIFYING CONDITIONS OF BOND

      IT IS HEREBY ORDERED that the conditions of Defendant’s bond

imposing a curfew and requiring him to wear a GPS tether are DELETED and

ELIMINATED.

      IT IS SO ORDERED.

                                     /s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: December 14, 2023


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on December 14, 2023, by electronic means and/or ordinary
mail.

                                            s/Holly A. Ryan
                                            Case Manager
                                            (313) 234-5126
